      Case 6:22-cv-01087-ADA-DTG Document 29 Filed 01/12/24 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 CASEY HUBBLE,                                      §
     Plaintiff                                      §
 v.                                                 §
                                                    §            Civil Action No. 6:22-CV-1087-ADA
 JOHNETTE McKOWN, Individually                      §
 McLENNAN COMMUNITY                                 §
 COLLEGE, and the BOARD OF
 TRUSTEES OF McLENNAN
 COMMUNITY COLLEGE: EARL
 STINNETT, SR.; RICKY TURMAN;
 ELIZABETH PALACIOS; K. PAUL
 HOLT; GENEVA WATLEY;
 JONATHAN HILL; and ILDA
 SABIDO.
      Defendants                                    §


                         STIPULATED MOTION FOR DISMISSAL

       The parties have reached a full and final resolution of all their disputes and so now request

that this matter be dismissed with prejudice to refiling, under FRCP 41(a)(2), with the Court to

retain jurisdiction solely in the event one of the parties later seeks enforcement of their written

agreement. They further request that the dismissal be without an award of costs or assessment by

the Court of any damages, attorney fees, or other such relief.

                                     Respectfully Submitted,

/s/ Douglas M. Becker                              /s/ Peter K. Rusek                     .
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                                           Page 1 of 2
    Case 6:22-cv-01087-ADA-DTG Document 29 Filed 01/12/24 Page 2 of 2




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                               Page 2 of 2
